                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )
 v.                                              )       Case No. 1:07-CR-79-4
                                                 )
 RONALD JEROME NELSON                            )       COLLIER/CARTER


                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 26,

 2007. At the hearing, defendant Ronald Jerome Nelson entered a plea of guilty to Count One, the

 lesser included offense of conspiracy to distribute cocaine base (“crack”), in violation of 21

 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C), in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find

 that the defendant is fully capable and competent to enter an informed plea; that the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; that it is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; that the defendant understands the nature of the charge and penalties provided by law;

 and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One, the lesser included

 offense of conspiracy to distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(C), that the Court adjudicate defendant guilty of the charges set forth in

 Count One of the Indictment, and that the written plea agreement be accepted at the time of

 sentencing. I further recommend that defendant remain in custody until sentencing in this matter.


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 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Thursday, February 21, 2008, at 9:00

 am.



 Dated: November 26, 2007                       S/ William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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